Case 19-13071-amc           Doc 87     Filed 06/14/22 Entered 06/14/22 14:19:39                    Desc Main
                                       Document     Page 1 of 2



                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Kenneth M. Grose
       Natonda T. Grose
                                  Debtor(s)                                     Chapter 13

U.S. BANK NATIONAL ASSOCIATION
(TRUSTEE FOR THE PENNSYLVANIA
HOUSING FINANCE AGENCY)                                                     NO. 19-13071 AMC
                      v.
Kenneth M. Grose
Natonda T. Grose
                      and
Scott F. Waterman Esquire
                          Trustee

                                                     ORDER
         AND NOW, this           day of               , 2022 upon the filing of a Certification of Default by the
Moving Party in accordance with the Stipulation of the parties approved on October 5, 2020 it is ORDERED
AND DECREED that:
         The Automatic Stay of all proceedings, as provided under 11 U.S.C. Sections 362 and 1301 of the
Bankruptcy Reform Act of 1978 (The Code) 11 U.S.C. 11 U.S.C. Sections 362 and 1301 (if applicable), is
modified to allow U.S. BANK NATIONAL ASSOCIATION (TRUSTEE FOR THE PENNSYLVANIA
HOUSING FINANCE AGENCY) and its successor in title to proceed with the execution process through, among
other remedies but not limited to Sheriff's Sale regarding the premises 1319 Foulkrod Street Philadelphia, PA
19124.
         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.



   Date: June 14, 2022
                                                           United States Bankruptcy Judge.


cc: See attached service list
Case 19-13071-amc         Doc 87      Filed 06/14/22 Entered 06/14/22 14:19:39   Desc Main
                                      Document     Page 2 of 2


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Philadelphia, PA 19124

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